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                        UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             SOUTHERN DIVISION

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  UNITED STATES OF AMERICA                    )
                                              )
                   V.                         )         CRIMINAL INFORMATION
                                              )
  MELISHA OXENDINE WEST                       )


      The United States Attorney charges as follows:

                                GENERAL ALLEGATIONS

      At all times relevant to this Information:

                   A. THE MEDICARE AND MEDICAID PROGRAMS

       1.           The Medicare program ("Medicare") was a federal healthcare program

providing benefits to persons who were 65 years of age or older or disabled. Medicare

was administered by the Centers for Medicare and Medicaid Services ("CMS"), a

federal agency under the United States Department of Health and Human Services.

Individuals who received benefits under Medicare were referred to as Medicare

"beneficiaries."

      2.            Medicare covered different types of benefits and was separated into

different program "parts." Medicare Part D subsidized the cost of prescription drugs for

Medicare beneficiaries in the United States. Generally, Medicare Part D covered part

or all of the costs of prescription drugs dispensed to a Medicare beneficiary if, among

other requirements, the prescription drugs were medically necessary and ordered by a




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physician.

      3.         In order to receive Medicare Part D benefits, a beneficiary enrolled in

one of several Medicare drug plans. Medicare drug plans were operated by private

health care insurance companies approved by Medicare. Those companies were often

referred to as drug plan "sponsors." (As used herein, the term "Medicare" shall

encompass these private drug plan sponsors.) A beneficiary in a Medicare drug plan

could fill a prescription at a pharmacy and use his or her plan to pay for some or all of

the prescription drugs.

      4.         Medicare, through CMS, compensated theMedicare drugplansponsors

for providing prescription drug benefits to beneficiaries. Medicare paid the sponsors a

monthly fee for each Medicare beneficiary of the sponsors' plans. Such payments were

called capitation fees. The capitation fee was adjusted periodically based on various

factors, including the beneficiary's medicalconditions. In addition, in some cases where

a sponsor's expenses for a beneficiary's prescription drugs exceeded that beneficiary's

capitation fee, Medicare reimbursed the sponsor for a portion of those additional

expenses.

      5.         The North Carolina Medicaid program ("Medicaid") was a federal and

state funded health care program providing benefits to individuals and families who

met specified financial and other eligibility requirements, and certain other

individuals who lacked adequate resources to pay for medical care. CMS was

responsible for overseeing the Medicaid program in participating states, including

North Carolina. Individuals who received benefits under Medicaid were referred to

as Medicaid "recipients."



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      6.         Medicaid covered the costs of certain medical services, products, and

benefits, including prescription drug benefits, for Medicaid recipients. Generally,

Medicaid covered part or all of the costs of prescription drugs dispensed to a Medicaid

recipient if, among other requirements, the prescription drugs were medically

necessary and ordered by an authorized provider.

      7.         Medicare and Medicaid, were "health care benefit program[s]," as

defined by Title 18, United States Code, Section 24(b).

                    B. PRIVATE HEALTH INSURANCE PLANS

      8.         Various private health insurance companies and plans, referred t.o

collectively herein as the "Private Health Plans," were authorized and licensed to do
                                                                  \,
business in the state of North Carolina. The Private Health Plans provided health

care benefits, including prescription drug benefits, to member entities and individuals.

Individuals insured by the Private Health Plans are referred to herein as "members."

      9.         The Private Health Plans had agreements with participating

providers, including pharmacies, to furnish medical services to their members.

      10.        The Private Health Plans were "health care benefit programs," as

defined by Title 18, United States Code, Section 24(b).

      11.        The Private HealthPlans included, but were not limited to, Blue Cross

and Blue Shield of North Carolina.

                       C. PHARMACY BENEFIT MANAGERS

      12.        Pharmacy benefit managers ("PBMs") managed prescription drug




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benefits provided by Medicare and Private Health Plans.               PBMs received,

adjudicated, and paid claims on behalf of these health care benefit programs.

      13.       After a pharmacy dispensed a prescription drug to a beneficiary,

recipient, or member, the pharmacy submitted a claim, typically electronically, to the

PBM acting on behalf of the specific health care benefit program. The PBM, on behalf

of the health care benefit program, reimbursed the pharmacy, typically electronically,

through direct deposits into accounts held, and previously identified, by the pharmacy.

      14.       CVS Caremark, OptumRx, and Express Scripts were three of several

PB Ms that managed prescription drug benefits for Medicare and Private Health Plans.

      15.       References in this Criminal Information to billings and claims

submitted to Medicare and Private HealthPlans, include any such billings and claims

made by, to, or through PBMs.

                                D. THE PHARMACY

      16.       All Medicines, Inc., was a North Carolina corporation doing business

as "Townsend's Pharmacy." Townsend's Pharmacy operated at 111 S. Main Street,

Red Springs, North Carolina, within the Eastern District of North Carolina.

      17.       During all times material to this Information, Townsend's Pharmacy

was registered withMedicare, Medicaid, and Private Health Plans, to receive payment

for medicines that were: (1) prescribed by licensed medical providers, and (2) actually

dispensed by Townsend's Pharmacy.




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                                E. THE DEFENDANT

      18.       Defendant MELISHA OXENDINE WEST was a North Carolina

certified pharmacy technician who worked at Townsend's Pharmacy.

      19.       WEST began employment at Townsend's Pharmacy as _early as 1997,.

upon graduation from high school.

      20.       WEST learned the pharmacy trade through on-the-job training by the

owner of Townsend's Pharmacy and by other pharmacy technicians working there.

      21.       Early in her work at Townsend's Pharmacy, WEST learned that

Townsend's Pharmacy was billing Medicare, Medicaid, and Private Health Plans for

various drugs that were not actually being dispensed.

      22.       Eventually, WEST was trained on how to bill health care benefit plans

for drugs that were not authorized or dispensed. This training included, but was not

limited to, how to fraudulently re-authorize a previously existing prescription from a

licensed medical provider for a particular drug; and how to falsely bill health care

benefit programs as though a drug had been dispensed.

      23.       WEST and others at Townsend's Pharmacy routinely and collectively

billed healthcare benefit programs for drugs that were not authorized or dispensed.

      24.       Townsend's Pharmacy and its employees, including WEST, financially

benefitted from the practice of billing health care benefit programs for drugs that were

not actually dispensed.




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                                    COUNTONE

      25.       Paragraphs 1 through 24 of the General Allegations section of this

Information are re-alleged and incorporated by reference as though fully set forth in

this Count.

      26.       Beginning at a time unknown, but no later than 2006, and continuing

through at least July of 2017, in the Eastern District of North Carolina and elsewhere,

MELISHA OXENDINE WEST and others known to the United States Attorney, did

knowingly combine, conspire, confederate, and agree to commit an offense against the

United States, specifically, to knowingly and willfully execute and attempt to execute

a scheme and artifice to: (1) defraud health care benefit programs as defined in Title

18, United States Code, Section 24(b), that is, Medicare, Medicaid, Private Health

Plans; and (2) obtain by means of materially false and frauduleiit pretenses,

representations, and promises, money and property owned by, and under the custody

and control of, said health care benefit programs; in connection with the delivery of

and payment for health care benefits, items, and services; in violation of Title 18,

United States Code, Section 1347 ("Health Care Fraud").

                         PURPOSE OF THE CONSPIRACY

      27.       It was a purpose of the conspiracy for Townsend's Pharmacy, and

those working there, to financially benefit from: (a) submitting, and causing to be

submitted false and fraudulent claims to Medicare, Medicaid, and Private Health

Plans; and (b) concealing, and causing the concealment of, the submission of false and




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fraudulent claims to Medicare, Medicaid, and Private Health Plans.

                  MANNER AND MEANS OF THE CONSPIRACY

      The manner and means by which the defendant and co-conspirators sought to

accomplish the purpose of the conspiracy included, among others, the following:

      28.       WEST and others maintained a national provider identifier for

Townsend's Pharmacy in order to submit pharmacy claims to Medicare, Medicaid, and

Private Health Plans.

      29.       WEST and others maintained software at Townsend's Pharmacy,

known as the "VIP System," that was utilized for filling prescriptions and sµbmitting

claims for payment to Medicare, Medicaid, and Private Health Plans. In addition to

patient information, the VIP system required the user to input identification

information for the prescribing provider, the drug prescribed, the quantity prescribed,

and the number of refills authorized. The VIP system electronically transmitted this

and other information to Medicare, Medicaid, and Private Health Plans in connection

with claims for payment.

      30.       WEST and others used the VIP system to bill Medicare, Medicaid, and

Private Health Plans for the distribution of drugs that were not, in fact, authorized or

dispensed. To do so, WEST and others would enter false information into the VIP

system, to wit, the prescription information, the identity of the prescribing provider,

the drug and drug quantity, and whether the drug was actually dispensed.

      31.       In conjunction with the use of the VIP system to dispense drugs and




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file claims, drug labels were routinely generated.       When WEST- and others at

Townsend's Pharmacy billed for a drug that was not, in fact, dispensed, they generally

placed the corresponding label in a box at the pharmacy. By keeping the labels in a

box, WEST and others could utilize the label in the event that a patient_ actually

requested a drug that had already been billed as though dispensed. Otherwise, WEST

and others would purge the box oflabels every few months. _

      32.        WEST and others working at Townsend's Pharmacy failed to order

from drug manufacturers the quantity of drugs that were billed to Medicare, Medicaid,

and Private Health Plans as though they had been dispensed.

      33.        WEST and others at Townsend's Pharmacy routinely failed to charge

and collect copayments from patients.

      34.        WEST and others at Townsend's Pharmacy failed to reimburse

Medicare, Medicaid, and Private Health Plans the amount of money Townsend's

Pharmacy received for drugs that were never dispensed.

      All in violation of Title 18, United States Code, Section 1349.

                                 FORFEITURE NOTICE

      The defendant is given notice that all of the defendant's interest in all property

specified herein is subject to forfeiture.

      Upon conviction of the offense set forth in the Information, the defendant shall

forfeit to the United States, pursuant to Title 18, United States Code, Section 982(a)(7)

and Title 18, United States Code, Section 981 (a)(l)(C), the latter as made applicable by




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28 U.S.C. § 2641(c), any property, real or personal, that constitutes or is derived, directly

or indirectly, from gross proceeds traceable to the commission of the offense.

       The forfeitable property includes, but is not limited to, the gross proceeds

personally obtained by the defendant.

       If any of the above-described forfeitable property, as a result of any act or

omission of the defendant --

       (1)    cannot be located upon the exercise of due diligence;

       (2)    has been transferred or sold to, or deposited with, a third party;

       (3)    has beenplaced beyond the jurisdiction of the court;

       (4)    has been substantially diminished in value; or

       (5)    has beencommi~led withotherpropertywhichcannot be divided without

difficulty;

       it is the intent of the United States, pursuant to Title 21, United States Code,

Section 853(p ), to seek forfeiture of any other property of said defendant up to the value

of the forfeitable property described above.




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